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Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

I HEREBY COMMUTE the sentences of death imposed as to each of the following named
persons to sentences of life imprisonment without the possibility of parole, leaving intact and in effect
for each named person all other conditions and components of the sentences previously imposed upon

them. The following persons are recipients of this grant of clemency:

Name Reg. No.
SHANNON WAYNE AGOFSKY (6267-045
BILLIE JEROME ALLEN 26901-044
AQUILIA MARCIVICCI BARNETTE 12599-058
BRANDON LEON BASHAM 98940-071
ANTHONY GEORGE BATTLE 11451-056
MEIER JASON BROWN 11364-021
CARLOS DAVID CARO 37786-079
WESLEY PAUL COONCE, JR., A/K/A 30011-039
WESLEY PAUL COONCE
BRANDON MICHAEL COUNCIL 63961-056
CHRISTOPHER EMORY CRAMER, A/K/A 10422-081
CHRISTOPHER CRAMER
LEN DAVIS 24325-034
JOSEPH EBRON 08655-007
RICKY ALLEN FACKRELL 12324-081
EDWARD LEON FIELDS, JR., A/K/A 04136-063
EDWARD LEON FIELDS
CHADRICK EVAN FULKS 16617-074
MARVIN CHARLES GABRION, II, A/K/A 09184-055
MARVIN CHARLES GABRION
EDGAR BALTAZAR GARCIA 28132-177
Te OREO A FRA A pea
ee ae HALL, A/K/A 3766-036
NORRIS G. HOLDER 26902-044

RICHARD ALLEN JACKSON

16669-058
UMANA

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JURIJUS KADAMOVAS 21050-112
DARYL LAWRENCE 66476-061
[OURI MIKHEL, A/K/A

IOURI GHERMAN MIKHEL PoGT AND
RONALD MIKOS 20716-424
JAMES H. ROANE, JR., A/K/A

JAMES H. ROANE 32923-083
JULIUS OMAR ROBINSON 26190-177
DAVID ANTHONY RUNYON 57997-083
RICARDO SANCHEZ, JR., A/K/A

RICARDO SANCHEZ 79820-004
THOMAS STEVEN SANDERS 15967-043
KABONI SAVAGE 58232-066
MARK ISAAC SNARR 11093-081
REJON TAYLOR, A/K/A

REJON L. TAYLOR 41070-074
RICHARD TIPTON 32922-083
JORGE AVILA TORREZ 16054-084
DANIEL TROYA 75817-004
ALEJANDRO ENRIQUE RAMIREZ

UMANA, A/K/A ALEJANDRO ENRIQUE 93077-058

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I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my representative,
to deliver to the Bureau of Prisons a certified copy of the signed warrant as evidence of my action in
order to carry into effect the terms of these grants of clemency, and to deliver a certified copy of the
signed warrant to each person to whom I have granted clemency as evidence of my action.

IN TESTIMONY WHEREOF, | have hereunto signed my name and caused the seal of the
Department of Justice to be affixed.

Done at the City of Washington this 23rd
day of December in the year of our Lord
Two Thousand and Twenty-Four and of the
Independence of the United States the

Two Hundred and Forty-Ninth.

path Pum }

JOSEPH R. BIDEN JR.
President

